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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF ARIZONA
 8                                               )
      Nicole Schmidt,                                 No. CV-21-01797-PHX-SPL
 9                                               )
                                                 )
                       Plaintiff,                )    ORDER SETTING RULE 16
10                                               )
      vs.                                             CASE MANAGEMENT CONFERENCE
11                                               )
                                                 )
      A3 Smart Home LP,                          )
12                                               )
13                     Defendant.                )
                                                 )
14                                               )

15            Pursuant to Rule 16 of the Federal Rules of Civil Procedure,
16            IT IS ORDERED:
17   I.       Case Management Conference
18            A Case Management Conference is set for April 26, 2022 at 4:00 p.m., before the
19   Honorable Judge Steven P. Logan, United States District Judge, in Courtroom 501, Sandra
20   Day O’Connor United States Courthouse, 401 West Washington Street, Phoenix, Arizona
21   85003. Counsel who will be responsible for trial of the lawsuit for each party, and any party
22   that is not represented by counsel, shall appear and participate in the Case Management
23   Conference and shall have authority to enter into stipulations regarding all matters that may
24   be discussed.
25   II.      Rule 26(f) Meeting
26            The parties are directed to meet and confer no later than fourteen (14) days prior to
27   the Case Management Conference as required by Rule 26(f) of the Federal Rules of Civil
28   Procedure. It is the responsibility of Plaintiff to initiate the Rule 26(f) Meeting, and
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 1   Defendant shall promptly and cooperatively participate in the Rule 26(f) Meeting.
 2           At the Rule 26(f) Meeting, the parties shall jointly develop and file with the Clerk
 3   of Court no later than April 15, 2022, each of the following in the form outlined below:
 4   (1) a Joint Rule 26(f) Case Management Report, and (2) a Joint Proposed Rule 16 Case
 5   Management Order. Requests to continue the Case Management Conference or
 6   outstanding motions will not excuse the requirement to participate in a Rule 26(f) meeting
 7   and to submit the parties’ joint report and proposed order.
 8   III.    Joint Rule 26(f) Case Management Report
 9           The parties’ Joint Rule 26(f) Case Management Report shall contain the following
10   information in separately numbered paragraphs:
11           1.   Attendance: The parties who attended the Rule 26(f) Meeting and assisted in
12   developing the parties’ joint submissions;
13           2.   Service: The parties, if any, which have not been served and an explanation of
14   why they have not been served, and any parties which have been served but have not
15   answered or otherwise appeared;
16           3.   Nature of Case: The nature of the case, including a brief description – three
17   (3) pages or less - of the principal factual disputes and legal basis of all claims and
18   defenses;
19           4.   Jurisdiction: The jurisdictional basis for the case, citing specific statutes. If
20   jurisdiction is based on diversity of citizenship, the report shall include a statement of the
21   citizenship of every party and a description of the amount in dispute;1
22           5.   Additions and Amendments: Whether any party expects to add additional
23   parties to the case or otherwise amend the pleadings;
24   1
             The parties are reminded that (1) a corporation is a citizen of the state where it is
     incorporated and the state of its principal place of business, and (2) partnerships and limited
25   liability companies are citizens of every state in which one of their partners or members
     resides. See 28 U.S.C. § 1332(c); Hertz Corp. v. Friend, 559 U.S. 77, 80, 92-93 (2010);
26   Indus. Tectonics v. Aero Alloy, 912 F.2d 1090, 1092 (9th Cir. 1990); Johnson v. Columbia
     Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). The parties are further
27   reminded that the use of fictitious parties (e.g., “John Doe” or “ABC Corporation”) “casts
     no magical spell on a complaint otherwise lacking in diversity jurisdiction.” Fifty Assocs.
28   v. Prudential Ins. Co. of Am., 446 F.2d 1187, 1191 (9th Cir. 1970) (citations omitted).

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 1           6.      Forthcoming Motions: A listing of contemplated motions and a statement of
 2   the issues to be decided by these motions;
 3           7.      Related Cases: The status of related cases pending before other courts or other
 4   judges of this District;
 5           8.      Discovery Limitations: Suggested changes, if any, in the limitations on
 6   discovery (including depositions) imposed by the Federal Rules of Civil Procedure and a
 7   discussion of why such changes are proportional to the needs of this case;
 8           9.      Electronically Stored Information: Any issues relating to preservation,
 9   disclosure, or discovery of electronically stored information, including the parties’
10   preservation of electronically stored information and the form or forms in which it will be
11   produced;
12           10. Request for Jury Trial: Whether a jury trial has been requested and whether
13   the request for a jury trial is contested. If the request for a jury trial is contested, the parties
14   shall set forth the reasons why a trial by jury is in dispute;
15           11. Trial: The estimated date that the case will be ready for trial, the estimated
16   length of trial, and any suggestions for shortening the trial;
17           12. Expedited Trial Alternative: Certification that counsel for each party has
18   discussed with his or her client, or each pro se litigant has considered, the expedited trial
19   alternative;2
20           13. Consent to Magistrate Judge: Whether the parties consent to the transfer of
21   the case to a United States Magistrate Judge pursuant to 28 U.S.C. § 636(c);
22           14. Settlement and Dispute Resolution: The prospects for settlement, and
23   whether the case is suitable for referral to a United States Magistrate Judge for the purpose
24   2
            Expedited Trial Alternative: The parties may elect to take this case directly to trial,
     whether jury or bench trial. An expedited trial will be held in this case if all parties agree
25   to such a trial. If the parties elect to proceed to an expedited trial, no formal discovery or
     motion practice will occur and a Final Pretrial Conference will be scheduled. Counsel for
26   each party must discuss this expedited trial alternative with his or her client. As part of this
     discussion, counsel must provide his or her client with two good faith estimates of the costs
27   (including attorneys’ fees) of litigating this case to completion: (1) an estimate of the cost
     if an expedited trial is elected, and (2) an estimate of the cost if an expedited trial is not
28   elected and typical discovery and motion practice occur.

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 1   of holding a settlement conference (mediation), minitrial, summary jury trial, early neutral
 2   evaluation, or other form of alternative dispute resolution pursuant to LRCiv 83.10;
 3          15. Modified Procedures: Suggested modification of pretrial procedures due to
 4   the nature of the case, for example:
 5               ERISA Action: If the parties jointly agree to resolve an action brought pursuant
 6   to the Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001 et seq.,
 7   through cross briefing, in lieu of filing the attached Joint Proposed Rule 16 Case
 8   Management Order, the parties shall propose a deadline for each of the following:
 9               (a) Initial disclosures;
10               (b) Completion of disclosure of materials that either party contends should be
11                   considered as part of the record on review;
12               (c) Filing of the Administrative Record;
13               (d) Filing of Plaintiff’s Opening Brief;
14               (e) Filing of Defendant’s Response Brief;
15               (f) Filing of Plaintiff’s Reply Brief; and
16               (g) Completion of Good Faith Settlement Talks;
17               Class Action: If either party is presenting their case as a class action, the parties
18   shall propose a deadline for each of the following:
19               (a) Completion of class certification discovery;
20               (b) Filing of any motion for class certification and responsive briefing;
21               (c) Filing of any motion for class decertification and responsive briefing;
22               Patent Action: If either party believes a hearing pursuant to Markman v.
23   Westview Instruments, Inc., 517 U.S. 370 (1996) will be necessary, the parties shall propose
24   a deadline for each of the following:
25               (a) Disclosure of asserted claims and infringement contentions;
26               (b) Exchange of proposed claim constructions;
27               (c) Filing of joint claim construction statement;
28               (d) Disclosure of experts intended to be used at the Markman hearing;


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 1                (e) Filing of Opening Claim Construction Brief;
 2                (f) Filing of Responsive Claim Construction Brief; and
 3           16. Additional Matters: Any other matters that will aid the Court and parties in
 4   resolving this case in a just, speedy, and inexpensive manner.
 5   IV.     Joint Proposed Rule 16 Case Management Order
 6           A fillable Joint Proposed Rule 16 Case Management Order has been attached to this
 7   Order. The parties shall carefully review, complete, and file the attached Order, providing
 8   the specific dates jointly proposed by the parties for the following deadlines (where
 9   indicated): amendment of pleadings and joining parties; completion of discovery;
10   completion of expert disclosures; completion of expert depositions; filing of dispositive
11   motions; and completion of good faith settlement talks. If the parties are unable to agree
12   regarding specific deadlines, both proposed dates shall be included in the proposed order.3
13           Dated this 17th day of March, 2022.
14
15                                                     Honorable Steven P. Logan
                                                       United States District Judge
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           Example: “Dispositive motions shall be filed no later than 1/1/18 (Plaintiffs), 1/2/18
28   (Defendants).”

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